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                           UNITED STATES DISTRICT COURT
                               DISTRICT OF COLORADO

  Civil Action No.

  Deborah Laufer, an individual,
        Plaintiff,
  v.
  Choi Yun Sub, and
  Choi Young Mi, d/b/a Budget Host Longhorn Motel,
        Defendant(s).


                                         COMPLAINT
                                (Injunctive Relief Requested)



      Plaintiff, Deborah Laufer, individually (“Plaintiff”) on her own behalf and on behalf

  of all other individuals similarly situated, hereby sues the Defendants, Choi Yun Sub,

  and Choi Young Mi d/b/a Budget Host Longhorn Motel Byers (“Defendants”), for

  Injunctive Relief, attorney’s fees, attorney fees, litigation expenses, and costs

  pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”)

  and damages and attorney fees and costs pursuant to the Colorado Anti-

  Discrimination Act ("CADA").

      1. Plaintiff is a resident of Pasco County, Florida, is sui juris, and qualifies as an

  individual with disabilities as defined by the ADA. Plaintiff is unable to engage in the

  major life activity of walking more than a few steps without assistive devices. Instead,

  Plaintiff is bound to ambulate in a wheelchair or with a cane or other support and has

  limited use of her hands. She is unable to tightly grasp, pinch and twist of the wrist to

  operate. When ambulating beyond the comfort of her own home, Plaintiff must


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  primarily rely on a wheelchair. Plaintiff requires accessible handicap parking spaces

  located closest to the entrances of a facility. The handicap and access aisles must be

  of sufficient width so that she can embark and disembark from a ramp into her vehicle.

  Routes connecting the handicap spaces and all features, goods and services of a

  facility must be level, properly sloped, sufficiently wide and without cracks, holes or

  other hazards that can pose a danger of tipping, catching wheels or falling. These

  areas must be free of obstructions or unsecured carpeting that make passage either

  more difficult or impossible. Amenities must be sufficiently lowered so that Plaintiff can

  reach them. She has difficulty operating door knobs, sink faucets, or other operating

  mechanisms that tight grasping, twisting of the wrist or pinching. She is hesitant to use

  sinks that have unwrapped pipes, as such pose a danger of scraping or burning her

  legs. Sinks must be at the proper height so that she can put her legs underneath to

  wash her hands. She requires grab bars both behind and beside a commode so that

  she can safely transfer and she has difficulty reaching the flush control if it is on the

  wrong side. She has difficulty getting through doorways if they lack the proper

  clearance.

      2. Plaintiff is an advocate of the rights of similarly situated disabled persons and

  is a "tester" for the purpose of asserting her civil rights and monitoring, ensuring, and

  determining whether places of public accommodation and their websites are in

  compliance with the ADA.

      3. According to the county property records, Defendants owns a place of public

  accommodation as defined by the ADA and the regulations implementing the ADA, 28


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  CFR 36.201(a) and 36.104. The place of public accommodation that the Defendants

  owns is a place of lodging known as Budget Host Longhorn Motel and is located at

  456 N Main St, Byers, CO 80103 in the County of Arapahoe (hereinafter “Hotel” or

  "Property").

      4. Venue is properly located in the DISTRICT OF COLORADO because the

  Hotel is located in this judicial district.

      5. Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been

  given original jurisdiction over actions which arise from the Defendants’ violations of

  Title III of the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. See also 28

  U.S.C. § 2201 and § 2202.

                                Count I - Violation Of The ADA

      6. Plaintiff realleges paragraphs 1-5 as if set forth fully hereunder.

      7. As the owner of the subject place of lodging, Defendants are required to

  comply with the ADA. As such, Defendants are required to ensure that it's place of

  lodging is in compliance with the standards applicable to places of public

  accommodation, as set forth in the regulations promulgated by the Department of

  Justice. Said regulations are set forth in the Code of Federal Regulations, the

  Americans With Disabilities Act Architectural Guidelines ("ADAAGs"), and the 2010

  ADA Standards, incorporated by reference into the ADA. These regulations impose

  requirements pertaining to places of public accommodation, including places of

  lodging, to ensure that they are accessible to disabled individuals.




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      8. More specifically, 28 C.F.R. Section 36.302(e)(1) imposes the following

  requirements:

                  Reservations made by places of lodging. A public accommodation
                  that owns, leases (or leases to), or operates a place of lodging shall,
                  with respect to reservations made by any means, including by
                  telephone, in-person, or through a third party -
                        (i) Modify its policies, practices, or procedures to ensure that
                        individuals with disabilities can make reservations for accessible
                        guest rooms during the same hours and in the same manner as
                        individuals who do not need accessible rooms;
                        (ii) Identify and describe accessible features in the hotels and
                        guest rooms offered through its reservations service in enough
                        detail to reasonably permit individuals with disabilities to assess
                        independently whether a given hotel or guest room meets his or
                        her accessibility needs;
                        (iii) Ensure that accessible guest rooms are held for use by
                        individuals with disabilities until all other guest rooms of that type
                        have been rented and the accessible room requested is the only
                        remaining room of that type;
                        (iv) Reserve, upon request, accessible guest rooms or specific
                        types of guest rooms and ensure that the guest rooms requested
                        are blocked and removed from all reservations systems; and
                        (v) Guarantee that the specific accessible guest room reserved
                        through its reservations service is held for the reserving
                        customer, regardless of whether a specific room is held in
                        response to reservations made by others.

      9. These regulations became effective March 15, 2012.

      10. Defendants, either itself or by and through a third party, implemented,

  operates, controls and or maintains an online reservations system (hereinafter "ORS")

  for the Property. The purpose of this ORS is so that members of the public may

  reserve guest accommodations and review information pertaining to the goods,

  services, features, facilities, benefits, advantages, and accommodations of the




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  Property. As such, the ORS is subject to the requirements of 28 C.F.R. Section

  36.302(e).

      11. Prior to the commencement of this lawsuit, Plaintiff visited the ORS for the

  purpose of reviewing and assessing the accessible features at the Property and

  ascertain whether it meets the requirements of 28 C.F.R. Section 36.302(e) and her

  accessibility needs. However, Plaintiff was unable to do so because Defendants failed

  to comply with the requirements set forth in 28 C.F.R. Section 36.302(e). As a result,

  Plaintiff was deprived the same goods, services, features, facilities, benefits,

  advantages, and accommodations of the Property available to the general public.

  Specifically, with respect to the website located at: www.expedia.com, it did not

  comply with the Regulation because it did not identify accessible rooms, did not allow

  for booking of accessible rooms and provided insufficient information as to whether

  the rooms or features at the hotel are accessible. Hotel amenities, room types and

  amenities are all listed in detail. No information was given about accessibility in the

  hotel. With respect to the website located at: www.hotels.com, it did not comply with

  the Regulation because it did not identify accessible rooms, did not allow for booking

  of accessible rooms and provided insufficient information as to whether the rooms or

  features at the hotel are accessible. Hotel amenities, room types and amenities are all

  listed in detail. No information was given about accessibility in the hotel. With respect

  to the website located at: www.orbitz.com, it did not comply with the Regulation

  because it did not identify accessible rooms, did not allow for booking of accessible

  rooms and provided insufficient information as to whether the rooms or features at the


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  hotel are accessible. Hotel amenities, room types and amenities are all listed in detail.

  No information was given about accessibility in the hotel. With respect to the website

  located at: www.trip.com, it did not comply with the Regulation because it did not

  identify accessible rooms, did not allow for booking of accessible rooms and provided

  insufficient information as to whether the rooms or features at the hotel are

  accessible. Hotel amenities, room types and amenities are all listed in detail. No

  information was given about accessibility in the hotel.

        12. In the near future, Plaintiff intends to revisit Defendants’ ORS in order to test it

  for compliance with 28 C.F.R. Section 36.302(e) and/or to utilize the system to

  reserve a guest room and otherwise avail herself of the goods, services, features,

  facilities, benefits, advantages, and accommodations of the Property.

        13. Plaintiff is continuously aware that the subject ORS remains non-compliant

  and that it would be a futile gesture to revisit it as long as those violations exist unless

  she is willing to suffer additional discrimination.

        14. The violations present at Defendants’ ORS infringe Plaintiff's right to travel

  free of discrimination and deprive her of the information required to make meaningful

  choices for travel. Plaintiff has suffered, and continues to suffer, frustration and

  humiliation as the result of the discriminatory conditions present at Defendants’ ORS.

  By continuing to operate the ORS with discriminatory conditions, Defendants

  contribute to Plaintiff's sense of isolation and segregation and deprives Plaintiff the full

  and     equal   enjoyment     of   the   goods,    services,   facilities,   privileges   and/or

  accommodations available to the general public. By encountering the discriminatory


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  conditions at Defendants’ ORS, and knowing that it would be a futile gesture to return

  to the ORS unless she is willing to endure additional discrimination, Plaintiff is

  deprived of the same advantages, privileges, goods, services and benefits readily

  available to the general public. By maintaining a ORS with violations, Defendants

  deprive Plaintiff the equality of opportunity offered to the general public. Defendants’

  online reservations system serves as a gateway to its hotel. Because this online

  reservations system discriminates against Plaintiff, it is thereby more difficult to book a

  room at the hotel or make an informed decision as to whether the facilities at the hotel

  are accessible.

      15. Plaintiff has suffered and will continue to suffer direct and indirect injury as a

  result of the Defendants’ discrimination until the Defendants are compelled to modify

  its ORS to comply with the requirements of the ADA and to continually monitor and

  ensure that the subject ORS remains in compliance.

      16. Plaintiff has a realistic, credible, existing and continuing threat of discrimination

  from the Defendants’ non-compliance with the ADA with respect to these ORS.

  Plaintiff has reasonable grounds to believe that she will continue to be subjected to

  discrimination in violation of the ADA by the Defendants.

      17. The Defendants have discriminated against the Plaintiff by denying her access

  to, and full and equal enjoyment of, the goods, services, facilities, privileges,

  advantages and/or accommodations of the subject website.




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      18. The Plaintiff and all others similarly situated will continue to suffer such

  discrimination, injury and damage without the immediate relief provided by the ADA as

  requested herein.

      19. Defendants have discriminated against the Plaintiff by denying her access to

  full and equal enjoyment of the goods, services, facilities, privileges, advantages

  and/or accommodations of its place of public accommodation or commercial facility in

  violation of 42 U.S.C. § 12181 et seq. and 28 CFR 36.302(e). Furthermore, the

  Defendants continue to discriminate against the Plaintiff, and all those similarly

  situated by failing to make reasonable modifications in policies, practices or

  procedures, when such modifications are necessary to afford all offered goods,

  services, facilities, privileges, advantages or accommodations to individuals with

  disabilities; and by failing to take such efforts that may be necessary to ensure that no

  individual with a disability is excluded, denied services, segregated or otherwise

  treated differently than other individuals because of the absence of auxiliary aids and

  services.

      20. Plaintiff is without adequate remedy at law and is suffering irreparable harm.

  Plaintiff has retained the undersigned counsel and is entitled to recover attorney’s

  fees, costs and litigation expenses from the Defendants pursuant to 42 U.S.C. §

  12205 and 28 CFR 36.505.

      21. Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant

  Plaintiff Injunctive Relief, including an order to require the Defendants to alter the

  subject ORS to make them readily accessible and useable to the Plaintiff and all other


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  persons with disabilities as defined by the ADA and 28 C.F.R. Section 36.302(e); or

  by closing the ORS until such time as the Defendants cure the violations of the ADA.

          Count II - Damages, Attorneys Fees And Costs Pursuant to CADA

      22. Plaintiff realleges paragraphs 1-11 as if set forth fully hereunder.

      23. The Defendants’ hotel is a place of public accommodation within the meaning

  of the CADA, Section 24-34-601.

      24. Plaintiff has a "disability" within the meaning of CADA Section 24-34-301.

      25. The CADA, at Section 24-34-601(2)(a) provides: “It is a discriminatory practice

  and unlawful for a person, directly or indirectly, to refuse, withhold from, or deny to an

  individual... because of disability ... the full and equal enjoyment of the goods,

  services, facilities, privileges, advantages, or accommodations of a place of public

  accommodation."

      26. Defendants have violated the CADA. As a result thereof, Plaintiff has suffered

  humiliation, embarrassment, frustration, segregation, exclusion, the loss of equality of

  opportunity and full and equal access to Defendants’ services and has otherwise been

  damaged.

      27. Pursuant to CADA, Section 24-34-802, Plaintiff may bring a civil suit in a court

  of competent jurisdiction and is entitled to: (I) A court order requiring compliance with

  the provisions of the applicable section; (II) The recovery of actual monetary

  damages; or (III) A statutory fine not to exceed three thousand five hundred dollars

  and an award of attorneys fees and costs.

      WHEREFORE, Plaintiff respectfully requests:


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      a. The Court issue a Declaratory Judgment that determines that the Defendants

         at the commencement of the subject lawsuit is in violation of Title III of the

         Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. and the CADA.

      b. The Court issue a Declaratory Judgment that determines that the Defendants

         at the commencement of the subject lawsuit is in violation of Title III of the

         Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. and 28 C.F.R.

         Section 36.302(e).

      c. Injunctive relief against the Defendants including an order to revise its ORS to

         comply with 28 C.F.R. Section 36.302(e) and to implement a policy to monitor

         and maintain the ORS to ensure that it remains in compliance with said

         requirement.

      d. An award of attorney’s fees, costs and litigation expenses pursuant to 42

         U.S.C. § 12205.

      e. An   award     of    damages    for    her   humiliation,   exclusion,   frustration,

         embarrassment segregation and denial of full and equal enjoyment.

      f. An award of attorneys fees and cots pursuant to the CADA.

      g. Statutory damages pursuant to the CADA.

      h. Such other relief as the Court deems just and proper, and/or is allowable

         under Title III of the Americans with Disabilities Act.

   Dated: August 25, 2020.
                                               Respectfully submitted,
                                               s/ Suzette M. Marteny Moore
                                               Suzette M. Marteny Moore
                                               S. Moore Law, PLLC


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                                     2690 S. Combee Road
                                     Lakeland, Florida 33803
                                     Telephone: (863) 229-2140
                                     E-mail 1: S.Moore@SMooreLaw.com
                                     E-mail 2: Eservice@SMooreLaw.com
                                     Attorney for Plaintiff, Deborah Laufer




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